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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

JAMES HAYDEN,                                   )
                                                )
              Plaintiff,                        )   CASE NO. 1:17-cv-02635-CAB
                                                )
       v.                                       )   Honorable Christopher A. Boyko
                                                )
2K GAMES, INC., et al.,                         )
                                                )
              Defendants.                       )
                                                )

  NOTICE OF APPEARANCE FOR JENNIFER WICK ON BEHALF OF PLAINTIFF

       PLEASE TAKE NOTICE that Jennifer Wick of Calfee, Halter & Griswold, LLP, The

Calfee Building, 1405 East Sixth Street, Cleveland, Ohio 44114, telephone: (216) 622-8200,

facsimile: (216) 241-0816, email: jwick@calfee.com enters her appearance as additional counsel

for Plaintiff, James Hayden. Daniel McMullen, Georgia Yanchar and Andrew Alexander of the

law firm of Calfee, Halter & Griswold, LLP remain as counsel of record for Plaintiff.

Dated: October 16, 2019                     Respectfully submitted,

                                            /s/ Jennifer Wick
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 16, 2019, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

system to all parties indicated on the electronic filing receipt, and parties may access this filing

through the Court’s system.


                                               /s/ Jennifer Wick
                                               One of the Attorneys for Plaintiff




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